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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                         23-80101-CR-CANNON/REINHART



 IN RE: SEALED INDICTMENT
 ___________________________________/



                            ORDER UNSEALING CASE

         This matter comes before the Court on the Special Counsel’s Motion to Unseal

 that represents that the conditions supporting the Court’s sealing order no longer

 prevail and unsealing the Indictment is in the public interest. The Court finds good

 cause to vacate the Court’s Order sealing the returned indictment. The Clerk is

 therefore DIRECTED to unseal the indictment and the action.

         DONE AND ORDERED in Chambers at Miami, Florida this 9th day of June,

 2022.


                                                     EDWIN G. TORRES
                                                     United States Magistrate Judge
